                          1:08-cr-10036-MMM-JAG # 64                     Page 1 of 1
                                                                                                                        E-FILED
                                                                        Wednesday, 18 November, 2020 03:59:21 PM
                                                                                      Clerk, U.S. District Court, ILCD




                              UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF ILLINOIS
                                         OFFICE OF THE CLERK
                                                 TEL: 217.492.4020
                                                 FAX: 217.492.4028



                                          November 18, 2020


NDIL, U.S. District Court
Attn: Criminal Division
intake_ilcd@ilnd.uscourts.gov


RE: USA v Roosevelt Hamlin; CDIL Case # 08-10036; NDIL Case # 1:20-CR-00787

Dear Clerk of Court:

An Order by the Honorable Mihm, U.S. District Judge, was entered transferring the above-
referenced case from this District Court to the U.S. District Court, NDIL .

Enclosed is a certified copy of the docket sheet. The defendant’s financial obligations for this
Court have been paid in full. To obtain documents, you may access our electronic case file at the
following address: http://ecf.ilcd.uscourts.gov.

Please acknowledge receipt by returning a copy of this letter. If any questions, please contact
the Peoria Division. Thank you.

                                                                       Very truly yours,

                                                                       SHIG YASUNAGA,
                                                                       CLERK OF COURT

RECEIPT ACKNOWLEDGED ON __________________

By: _____________________




    Peoria Division           Urbana Division                Springfield Division          Rock Island Division
    100 N.E. Monroe St.       201 S. Vine St.                600 E. Monroe St.             (Temporarily relocated for
    Room 305                  Room 218                       Room 151                      mail and hearings to):
    Peoria, IL 61602          Urbana, IL 61802               Springfield, IL 62701         131 E. 4th Street, Rm 250
    309.671.7117              217.373.5830                   217.492.4020                  Davenport, IA 52801
                                                                                           309.793.5778
